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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 ANGALA GARLAND, individually and
 on behalf of all others similarly situated,

        Plaintiff,

 v.                                                              CLASS ACTION

 THE CHILDREN’S PLACE, INC.                                  CASE NO. 1:23-cv-4899

        Defendant.


       THE CHILDREN’S PLACE, INC.’S MOTION FOR SANCTIONS AGAINST
                COUNSEL FOR PLAINTIFF ANGALA GARLAND

       Defendant The Children’s Place, Inc., by its attorneys, pursuant to Federal Rule of Civil

Procedure 11, 28 U.S.C. § 1927, and the inherent power of this Court, states as follows:

       1.      Plaintiff’s counsel should be sanctioned under Rule 11. “A court may impose

sanctions under Rule 11 if, among other things, a lawsuit is not well grounded in facts.”

Portman v. Andrews, 249 F.R.D. 279, 282 (N.D. Ill. 2007) (J. Kennelly) (awarding sanctions);

Fed. R. Civ. P. 11(b)(3). Plaintiff’s counsel filed suit asserting that Defendant’s school uniforms

categorically contain per- and polyfluoroalkyl substances (“PFAS”) chemicals. Plaintiff’s

counsel knew this was false because pre-filing, they tested two items of Defendant’s clothing.

One of these items tested negative for PFAS. The second item tested positive for trace levels of

one PFAS chemical and the lab flagged the result as unreliable on several bases. Plaintiff’s

counsel did not conduct another round of testing prior to filing the Complaint. Accordingly,

counsel did not perform adequate inquiry and the Complaint is not well grounded in facts.




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       2.       Defendant subsequently shared its test results for each of the products identified

by Plaintiff in the Complaint, and these show that none contained PFAS. Despite sharing these

results, Plaintiff has refused to dismiss her Complaint.

       3.       Defendant complied with the requirements of Fed. R. Civ. Proc. 11 prior to filing

the instant Motion.

       4.       In support of this Motion, Defendant is contemporaneously filing a Memorandum

of Law which it expressly incorporates by reference as if fully stated herein, and Declaration of

Craig Cardon.

       WHEREFORE, Defendant respectfully requests that this Court sanction Plaintiff’s

counsel pursuant to Rule 11, 28 U.S.C. § 1927, and this Court’s inherent powers. Specifically,

Defendant requests that the Court dismiss Plaintiff’s suit, compensate Defendant for its legal fees

and expenses incurred in investigating Plaintiff’s claims and filing the Rule 11 motion, and

restrict Plaintiff and her counsel from making any other baseless claims against Defendant.




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Date: September 28, 2023      Respectfully submitted,

                              /s/ P. Craig Cardon
                              P. Craig Cardon, Cal. Bar No. 168646(pro hac vice)
                              Jeffrey J. Parker, Cal. Bar No. 155377(pro hac vice)
                              Abby H. Meyer, Cal. Bar No. 294947 (pro hac vice)
                              SHEPPARD MULLIN RICHTER & HAMPTON LLP
                              1901 Avenue of the Stars, Suite 160
                              Los Angeles, California 90067-6055
                              Telephone: (310) 228-3700
                              Facsimile: (310) 228-3701
                              CCardon@sheppardmullin.com
                              JParker@sheppardmullin.com
                              AMeyer@sheppardmullin.com

                              David M. Poell (ARDC #6302765)
                              SHEPPARD MULLIN RICHTER & HAMPTON LLP
                              321 N. Clark, 32nd Floor
                              Chicago, Illinois 60654
                              Telephone: (312) 499-6300
                              Facsimile: (312) 499-6301
                              DPoell@sheppardmullin.com

                              Attorneys for The Children’s Place, Inc.




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